        Case 1:21-cv-02900-CJN Document 167-1 Filed 01/05/24 Page 1 of 4




                             IN THE UNITED STATES DISTRICT
                               COURT FOR THE DISTRICT OF
                                       COLUMBIA

  SMARTMATIC USA CORP.,                             )
  SMARTMATIC HOLDING B.V., AND                      )
  SGO CORPORATION LIMITED,                          )
                                                    )
                      Plaintiffs,                   )
                                                          Civil Action No. 1:21-cv-02900-
            v.                                      )
                                                          CJN-MAU
                                                    )
  HERRING NETWORKS, INC., D/B/A                     )
  ONE AMERICA NEWS NETWORK,                         )
                                                    )
                      Defendant.                    )

  SMARTMATIC USA CORP.,                             )
  SMARTMATIC HOLDING B.V., AND                      )
  SGO CORPORATION LIMITED,                          ) Civil Action No. 1:23-mc-00138- CJN
                                                    )
                      Plaintiffs,                   )
       v.                                           )
  HERRING NETWORKS, INC., D/B/A                     )  DECLARATION OF CASEY E.
  ONE AMERICA NEWS NETWORK,                         )  DONNELLY IN SUPPORT OF
                                                    )  CONSOLIDATED
                      Defendant,                    )  MEMORANDUM OF LAW ON
            v.                                         BEHALF OF NON-PARTIES
                                                    )  OPEN SOCIETY INSTITUTE
  GEORGE SOROS,                                     )  AND GEORGE SOROS IN
                                                    )  OPPOSITION TO DEFENDANT
                      Respondent.                   )  OAN’S MOTIONS TO COMPEL



       I, Casey E. Donnelly, declare as follows:

       1.        I am a member of Willkie Farr & Gallagher LLP, the attorneys for Non-Parties

George Soros and the Open Society Institute (“OSI”) in the above-captioned actions. I have

applied for pro hac vice admission which is pending in both above-captioned actions in the

United States District Court for the District of Columbia. I make this declaration in support of
        Case 1:21-cv-02900-CJN Document 167-1 Filed 01/05/24 Page 2 of 4




the Consolidated Memorandum of Law on Behalf of Non-Parties Open Society Institute and

George Soros in Opposition To Defendant OAN’s Motions to Compel.

       2.      Attached as Exhibit 1 is a true and correct copy of an article authored by Kenneth

P. Vogel, Scott Shane and Patrick Kingsley, entitled “How Vilification of George Soros Moved

From the Fringes to the Mainstream,” published by the N.Y. Times on October 31, 2018,

available at https://www.nytimes.com/2018/10/31/us/politics/george-soros-bombs-trump.html.

       3.      Attached as Exhibit 2 is a true and correct copy of Lord Mark Malloch-Brown’s

LinkedIn profile, available at https://uk.linkedin.com/in/mark-malloch-brown.

       4.      Attached as Exhibit 3 is a true and correct copy of a press release entitled “SGO

Statement: The Open Society Foundations Tabs Malloch-Brown,” published on the SGO website

on December 4, 2020, available at https://sgo.com/media/article/sgo-statement-regarding-

appointment-of-mark-malloch-brown-as-president-of-the-open-society-foundations/.

       5.      Attached as Exhibit 4 is a true and correct copy of Lord Mark Malloch-Brown’s

biography page on the Open Society Foundations website, available at

https://www.opensocietyfoundations.org/who-we-are/leadership/mark-malloch-brown.

       6.      Attached as Exhibit 5 is a true and correct copy of Defendant’s proposed search

terms, broken out into individual searches.

       7.      Attached as Exhibit 6 is a true and correct copy of the transcript from the October

30, 2023 oral argument regarding Fox’s motion to compel production from Mr. Soros, Alexander

Soros and OSI, before the Honorable David B. Cohen in Smartmatic USA Corp., et al. v. Fox

Corporation, et al., No. 151136/2021 (N.Y. Sup. Ct. Feb. 4, 2021) with the relevant portions

highlighted.




                                               -2-
       Case 1:21-cv-02900-CJN Document 167-1 Filed 01/05/24 Page 3 of 4




       8.      Attached as Exhibit 7 is a true and correct excerpt of the transcript of the

November 16, 2020 broadcast of News Room with the relevant portions highlighted.

       9.      Attached as Exhibit 8 is a true and correct excerpt of the transcript of the

November 17, 2020 broadcast of Tipping Point with Kara McKinney with the relevant portions

highlighted.

       10.     Attached as Exhibit 9 is a true and correct excerpt of the transcript of the

December 5, 2020 broadcast of News Room with the relevant portions highlighted.

       11.     Attached as Exhibit 10 is a true and correct copy of a press release entitled “Soros

Does Not Own Voting Machine Company Smartmatics,” published on the Associated Press

website on March 13, 2020, available at https://apnews.com/article/archive-fact-checking-

8607371032.

       12.     Attached as Exhibit 11 is a true and correct copy of the December 07, 2020

Article on OAN’s website titled “Chairman of Smartmatic’s Parent Company to Become

President of George Soros’s ‘Open Society Foundations’”.

       13.     Attached as Exhibit 12 is a true and correct copy of the press release entitled

“Patrick Gaspard to Step Down as Head of Open Society Foundations,” published on the Open

Society Foundations website on December 4, 2020, available at

https://www.opensocietyfoundations.org/newsroom/patrick-gaspard-to-step-down-as-head-

ofopen-society-foundations.

       14.     Attached as Exhibit 13 is a true and correct excerpt of the transcript of the

December 1, 2020 broadcast of Tipping Point with the relevant portions highlighted.




                                                -3-
       Case 1:21-cv-02900-CJN Document 167-1 Filed 01/05/24 Page 4 of 4




       15.     Attached as Exhibit 14 is a true and correct excerpt of the transcript of the

November 20, 2020 broadcast of In Focus with Stephanie Hamil with the relevant portions

highlighted.

Dated: January 5, 2024
       Washington, DC

                                                        /s/ Casey E. Donnelly
                                                        Casey E. Donnelly




                                                -4-
